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 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6
     UNITED STATES OF AMERICA,                         )
 7                                                     )
                              Plaintiff,               )    Case No. CR08-245-RSL
 8                                                     )
           v.                                          )
 9                                                     )    DETENTION ORDER
     ANGELINA GONZALES,                                )
10                                                     )
                              Defendant.               )
11                                                     )

12   Offense charged:

13         Conspiracy to traffic in motor vehicle or motor vehicle parts.

14    Date of Detention Hearing: August 25, 2008.

15         The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and

16    based upon the factual findings and statement of reasons for detention hereafter set forth, finds

17    that no condition or combination of conditions which the defendant can meet will reasonably

18    assure the appearance of the defendant as required and the safety of any other person and the

19    community.

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21         (1)     Defendant was arrested pursuant to a warrant issued in this case.

22         (2)     Defendant has a criminal history going back to 1994. She has failed to appear for

23    court hearings seven times. She has failed to appear for important hearings such as a sentencing

      hearing in December 2005 and an arraignment hearing on July 8, 2008.

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 1         (3)     The government proffered that their investigation shows when defendant learned she

 2    had been indicted, she informed others involved in the case that she was going to “lay low.”

 3    Instead of addressing the charges, the government proffered that she left the state and went to

 4    Alaska.

 5         It is therefore ORDERED:

 6         (1)     Defendant shall be detained pending trial and committed to the custody of the

 7    Attorney General for confinement in a correctional facility separate, to the extent practicable,

 8    from persons awaiting or serving sentences, or being held in custody pending appeal;

 9         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

10    counsel;

11         (3)     On order of a court of the United States or on request of an attorney for the

12    Government, the person in charge of the correctional facility in which Defendant is confined shall

13    deliver the defendant to a United States Marshal for the purpose of an appearance in connection

14    with a court proceeding; and

15         (4)     The clerk shall direct copies of this order to counsel for the United States, to counsel

16    for the defendant, to the United States Marshal, and to the United States Pretrial Services Officer.

17         DATED this 25nd day of August, 2008.

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19                                                        A
                                                          BRIAN A. TSUCHIDA
20                                                        United States Magistrate Judge

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     DETENTION ORDER -2
